             Case 1:17-cv-01373-TNM Document 53 Filed 10/28/19 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BENJAMIN NORTH,

                        Plaintiff,

        v.                                                  Case No. 1:17-cv-01373-TNM

THE CATHOLIC UNIVERSITY OF AMERICA



                        Defendant.


                                     JOINT STATUS REPORT

        Plaintiff Benjamin North and Defendant The Catholic University of America, by counsel,

submit this joint status report:

        On August 29, 2019, the parties alerted the Court that they had reached a settlement in

principle. After the parties filed a September 27, 2019 status report requesting a further month to

finalize their agreement, the Court in a minute order entered that day directed the parties to file a

joint status report on October 28, 2019 if a stipulation of dismissal had not yet been filed.

        The parties are continuing to work to complete and execute a settlement agreement and

are working on the last few remaining provisions. The parties respectfully request leave to file

an updated status report no later than November 11, 2019.

Dated: October 28, 2019

                                              Respectfully submitted,

                                              /s/ Jesse Winograd
                                              Jesse Winograd, Esq. DC Bar # 986610
                                              JWinograd@gowenrhoades.com
                                              Gowen Silva & Winograd PLLC
                                              513 Capitol Court N.E., Suite 100
Case 1:17-cv-01373-TNM Document 53 Filed 10/28/19 Page 2 of 3



                           Washington, DC 20002
                           Phone: 202-380-9355

                           Counsel for Plaintiff Benjamin North


                           /s/ Aaron J. Kornblith
                           William D. Nussbaum (DC Bar No. 941815)
                           Aaron J. Kornblith (DC Bar. No. 1024077)
                           Saul Ewing Arnstein & Lehr LLP
                           1919 Pennsylvania Avenue NW
                           Suite 550
                           Washington, D.C. 20006
                           (202) 295-6652 Tel.
                           (202) 295-6715 Fax
                           william.nussbaum@saul.com
                           aj.kornblith@saul.com

                           Counsel for Defendant
                           The Catholic University of America




                              2
         Case 1:17-cv-01373-TNM Document 53 Filed 10/28/19 Page 3 of 3



                               CERTIFICATE OF SERVICE

     I hereby certify that on the 28th day of October, 2019, a copy of the foregoing JOINT
STATUS REPORT was served via the Court’s online filing system on:

       Jesse Winograd
       JWinograd@gowenrhoades.com
       Gowen Silva & Winograd PLLC
       513 Capitol Court N.E., Suite 100
       Washington, DC 20002
       Counsel for Plaintiff Benjamin North


                                                  /s/ Aaron J. Kornblith
                                                  Aaron J. Kornblith
